                                                               SO ORDERED.


                                                               Dated: March 10, 2020




                                                               Eddward P. Ballinger Jr., Bankruptcy Judge
                                                               _________________________________

                      IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF ARIZONA

                                 MINUTE ENTRY/ORDER



Bankruptcy Judge:     Hon. Eddward P. Ballinger, Jr.

Case Name: KUSHUNE DENISE ALLEN                                          Ch. 13

Case No.: 2:20-BK-01580- EPB

Subject of Matter: Debtor’s Motion for Accelerated Hearing on Motion to Continue Automatic
                   Stay

Date Matter Ruled Upon: 3/10/20
___________________________________________________________________________

       The Court has reviewed Debtor’s Motion for Accelerated Hearing on Motion to Continue

the Automatic Stay.

       IT IS ORDERED setting the motion for hearing for March 17, 2020 at 10:30 a.m., 230

North First Avenue, 7th Floor, Courtroom 703, Phoenix, Arizona, 85003.

       IT IS FURTHER ORDERED that the automatic stay shall remain in effect until the

matter can be heard on March 17, 2020.




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